            Case 2:03-cr-00453-LKK Document 115 Filed 07/11/05 Page 1 of 2


1    MICHAEL B. BIGELOW
     Attorney at Law - SBN 65211
2    428 J Street, Suite 350
     Sacramento, California 95814
3    Telephone: (916) 443-0217

4    Attorney for Defendant
     Robert Osterkamp
5
                           UNITED STATES DISTRICT COURT
6
                          EASTERN DISTRICT OF CALIFORNIA
7

8    UNITED STATES OF AMERICA           )
                                        )         No. Cr.S-03 453 LKK
9                     Plaintiff         )
                                        )         STIPULATION and ORDER
10              vs.                     )         CONTINUING SENTENCING
                                        )
11                                      )
     ROBERT OSTERKAMP                   )
                                        )         Date: August 16, 2005
12                                      )         Time: 9:30 AM
                      Defendant         )         Courtroom #4
13                                      )
14   PLEASE TAKE NOTICE that the parties, through their respective
15   counsel, stipulate to the continuance of sentencing in the above
16
     referenced matter to August 16, 2005 at 9:30 AM. This
17
     continuance is necessitated due to the fact that the undersigned
18
     counsel is presently in trial in the matter of the United States
19
     v Roberson presently before the Honorable William B. Shubb, and
20
     will not be available until August 16, 2005.
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24

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           Case 2:03-cr-00453-LKK Document 115 Filed 07/11/05 Page 2 of 2


1         Assistant United States Attorney Melikian agrees with this
2    request and has authorized the undersigned to submit his
3
     signature.
4
          IT IS SO STIPULATED
5
          DATED:     July 9, 2005                 /S/ Michael B. Bigelow
6                                                 Michael B. Bigelow
                                                  Attorney for Defendant
7

8
          Dated: July 9, 2005                     /S/ Ken Melikian
9                                                 Ken Melikian
                                                  AUSA
10
          IT IS SO ORDERED
11

12
          Dated: July 11, 2005                    /s/Lawrence K. Karlton
                                                  Hon. Lawrence K. Karlton
13                                                Senior Judge

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